           CASE 0:11-cv-03659-DWF-TNL       Doc. 180       Filed 07/03/12      Page 1 of 1



                             UNITED STATES DISTRICT COURT
                                  District of MINNESOTA


Kevin Scott Karsjens, et al.,                                         Civ. No. 11-3659 (DWF/JJK)

               Plaintiffs,

v.                                                          ORDER ON APPLICATION
                                                             TO PROCEED WITHOUT
Lucinda Jesson, et al.,                                      PREPAYMENT OF FEES

              Defendants.



     Having considered the applications to proceed without prepayment of fees under 28
USC §1915,

      IT IS ORDERED that the applications at Doc. Nos. 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, 13,
14, 15 are:

X GRANTED.




Date: July 3, 2012

                                                    s   /Jeffrey J. Keyes
                                                    Signature of Judicial Officer
                                                    JEFFREY J. KEYES,
                                                    U.S. MAGISTRATE JUDGE
                                                    Name and Title of Judicial Officer
